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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

FEENIX PAYMENT SYSTEMS, LLC,   )
and FEENIX VENTURE PARTNERS,   )
LLC,                           )
                               )
           Plaintiffs,         )
                               )
     v.                        )             No. 20-cv-01519-MAK
                               )
STEEL CAPITAL MANAGEMENT, LLC, )
STEEL PAYMENTS, LLC, MICHAEL   )
HOFFMAN, and MARC SEHGAL,      )
                               )
           Defendants.         )

                             PLAINTIFFS’ OBJECTIONS TO
                               SPECIAL MASTER ORDER



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       Plaintiffs, Feenix Payment Systems, LLC (“FPS”) and Feenix Venture Partners, LLC

(“FVP,” and with FPS, “Feenix”), respectfully submit the following objections to the Order en-

tered by the Special Master on August 24, 2021. ECF Doc. No. 147.

       In the Order, which addresses Feenix’s request for all documents concerning the creation,

formation, development, and operation of Steel Capital, the Special Master orders Defendants to

produce non-privileged documents relating to the “creation” of Steel Capital, including internal

communications. The express premise of the Order is the Special Master’s belief that Defendants

had already produced all documents pertaining to the formation, development, and operation of

Steel Capital. This belief is expressly based on Defendants’ representation on August 19, 2021,

that the only disputed category of documents are those related to the creation of the Steel Capital

entities, or what has been characterized as Steel Capital’s “origin story.” It follows that if this

express premise of the Order is incorrect, then the Court should adjust the scope of the Order.

       Feenix respectfully submit that the Special Master’s express premise in ordering the relief

she did was incorrect. Feenix did not have the opportunity in the briefing to respond to Defend-

ants’ letter brief making the forgoing representation, but categorically objects to Defendants’

representation. In particular, Feenix has received minimal internal communications between Mr.

Sehgal and Mr. Hoffman relating to the formation, development, and operation of Steel Capital.

This is because, as Defendants have stated, they have deemed relevant and responsive only those

documents relating to Steel Capital’s formation, development, and operation that expressly refer

to Feenix. See Transcript dated Aug. 16, 2021 (Ex. A) at 65-66 (“But most importantly, what

we’re not hearing is, why is it relevant if it’s not related to Feenix . . . So it has to tie back to

Feenix. We have not produced documents that do not relate to it. We don’t believe that they’re

discoverable.”). Accordingly, as Feenix stated in its July 23 motion to compel, Defendants have
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produced nearly no relevant internal communications (only 223 total emails, including only 59

total emails between Mr. Sehgal and Mr. Hoffman, and no text messages from 2020 and 2021)

regarding the formation and launch of Steel Capital, Steel Capital’s business plan, product de-

velopment goals and timelines, market strategy, market analysis, organizational structure, and

portfolio company investments. ECF Doc. No. 119.

       Defendants’ self-imposed limitation on the relevant documents concerning the formation,

development, and operation of Steel Capital is plainly unreasonable and critically undercuts the

fundamental premise of the Special Master’s Order. As Feenix demonstrated to the Special Mas-

ter, reflected in Exhibit B hereto, because trade secret claims and breaches of Section 15.5(a) and

15.5(c) of the Operating Agreement remain at issue, documents concerning not only the “crea-

tion,” but also the continuing formation, development, and operation of Steel Capital, are rele-

vant. This is true regardless of whether such documents expressly refer to Feenix.

       Plaintiffs are entitled to all of the documents reasonably calculated to show that Steel

Capital has created, formed, developed, and operated its business based on Feenix trade secrets

and confidential information, such that, for example those aspects of Steel Capital’s business are

substantially similar to the corresponding aspects of Feenix’s preexisting business. There is no

basis for limiting the relevant documents to only those in which Steel Capital in effect admits

that it has used or is using Feenix’s trade secrets and confidential information or otherwise refers

to “Feenix.” Such a limitation on discovery in any case concerning trade secrets or the misuse of

confidential information would insulate any remotely sophisticated defendant from liability. Just

as fundamental, ordering Defendants to produce only documents concerning the “creation” of

Steel Capital allows the likelihood of an unduly narrow production, derived from an unduly nar-




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row time period, concerning only the barest information of Steel Capital’s formal instantiation as

a corporate entity.

       Any discovery order that permits Defendants to produce only (i) the documents concern-

ing the mere formal “creation” of Steel Capital and (ii) the internal documents in which Steel

Capital refers to “Feenix” is unreasonable on its face. The Court might imagine a trial in which

Feenix’s counsel would seek to explain to the jury how Steel Capital was formed and the infor-

mation that its founders used to form, develop, and operate that business—but would simply be

unable to do so because Defendants had declined to produce the documents allowing counsel to

make such a showing. The discovery in this matter must permit Feenix to understand the relevant

facts—and thus to have access to the documents—concerning the creation, formation, develop-

ment, and operation of a business that, as Feenix has shown through its allegations, is substan-

tially similar to Feenix’s pre-existing business.

       The documents Plaintiffs seek are reasonably calculated to lead to the disclosure of evi-

dence relating to (a) Steel Capital’s use of Feenix’s trade secrets and confidential information;

(b) any development time and costs that Steel Capital may have avoided through use of Feenix’s

trade secrets and confidential information; (c) Steel Capital reaching the market with its business

model in an impossibly short period of time, demonstrating misappropriation; and (d) substantial

similarity between Steel Capital’s business model and Feenix’s business model that would shift

the burden of proof to Steel Capital to demonstrate it did not use Feenix’s trade secrets and con-

fidential information. These documents and communications would include those relating to how

Mr. Sehgal and Mr. Hoffman came up with the idea for Steel Capital, how they decided to create

the business together, how they created and implemented Steel Capital’s business plan and strat-




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egy, how they decided what customers to target, how Steel Capital operates, and how they decid-

ed the way they have pursued Steel Capital’s business.

       In sum, considering the mistaken, foundational premise of the Special Master’s Order,

Feenix asks for clarification that the Order adopts Feenix’s proposed scope, including communi-

cations beyond reference to Feenix, and requires that Defendants produce not only non-

privileged documents, including internal communications, relating to the “creation” of Steel

Capital, but also relating to the formation, development, and operation of Steel Capital.




                                             /s/ DRAFT
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